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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              CLARKSBURG

FRANCES G. POST, individually and
on behalf of all others similarly
situation,

       Plaintiff,

v.                                             Civ. Action No. 1:19-CV-73
                                                      (Judge Kleeh)

AMERISOURCEBERGEN CORPORATION,
a Delaware corporation, US
BIOSERVICES CORPORATION, a
Delaware corporation, Ig.G. OF
AMERICA, INC., a Maryland corporation,
and IHS ACQUISITION XXX, INC., a Delaware
Corporation,

       Defendants.


                   MEMORANDUM ORDER DENYING DEFENDANTS’
             MOTION TO STRIKE CLASS ALLEGATIONS [DKT. NO. 26]


       Pending   before    the   Court    is    the   Motion   to   Strike   Class

Allegations [Dkt. No. 26] filed by Defendants. Plaintiff has filed

a response [Dkt. No. 28] and Defendants replied [Dkt. No. 29].

The motion is ripe for decision.

                     I.    Introduction and Background

       Plaintiff      filed      a       Complaint       against       Defendants

AmerisourceBergen          Corporation          (“AmerisourceBergen”),         US

Bioservices Corporation (“US Bioservices”), I.g.G. of America,

Inc.    (“I.g.G.”),       and    IHS     Acquisition     XXX,       Inc.   (“IHS”)

(collectively, “Defendants”) on April 18, 2019 [Dkt. No. 1].                    An
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Amended Complaint was filed on May 8, 2019, and alleges seven

claims: Count I, Negligence; Count II, Personal Injury; Count III,

Civil    Conspiracy;   Count   IV,   Fraudulent   Concealment;    Count   V,

Unjust      Enrichment/Disgorgement;        Count     VI,     Breach      of

Confidentiality and Violation of Privacy; and Count VII, Punitive

Damages [Dkt. No. 9].

     Francis G. Post (“Post” or “Plaintiff”) is a resident of

Morgantown, West Virginia and alleges that she, and putative class

members, were directed by Felix Brizuela, D.O. (“Brizuela”) to

purchase immunoglobulin (“IVIG”) from Defendants [Id. at 2].           IVIG

is an intravenously administered blood product prepared by pooling

immunoglobulins from the plasma of thousands of human donors [Id.

at 5].   Plaintiff alleges that Defendants targeted Felix Brizuela,

D.O. through aggressive marketing to achieve increased sales of

IVIG therapy and increased profits for Defendants 1 [Id. at 5-6].


1 Felix Brizuela, D.O. is a Doctor of Osteopathic Medicine and a
board-certified   neurologist   with   a   neurology  practice   in
Morgantown, West Virginia. United States v. Felix Brizuela, Jr.,
No. 19-4656, --- F.3d ---, 2020 WL 3393440, at *3 (4th Cir. 2020).
A federal grand jury indicted Brizuela on 21 counts of distributing
controlled substances outside the bounds of professional medical
practice, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C); one
count of conspiracy to distribute controlled substances outside
the bounds of professional medical practice, in violation of 21
U.S.C. §§ 841(a)(1), (b)(1)(E)(i), (b)(1)(E)(iii); and 16 counts
of illegal remuneration in violation of the federal anti-kickback
statute, in violation of 42 U.S.C. §§ 1320a-7b(b)(1)(B) [N.D. W.Va.
Criminal Action No: 1:18-cr-00001, Dkt. No. 1]. The anti-kickback
charges related to a financial arrangement involving Brizuela,
Southwest Laboratories, LLC (“Southwest”), and Medspan Laboratory,
Inc. (“Medspan”) [Id.]. In January 2019, Brizuela was tried and
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Plaintiff asserts that Defendants made payments to Felix Brizuela,

D.O. to induce him to misdiagnose patients and wrongfully disclose

sensitive, private, and protected medical information of Plaintiff

and other putative class members for the purpose of increasing

new-book sales of IVIG, which increased Defendants’ profits [Id.

at 5].

     Plaintiff    contends    Defendants     greatly    incentivized     the

aggressive sale of IVIG, especially to new purchasers, because

Defendants knew: (1) once a person is prescribed IVIG, the person

will likely take IVIG infusions for the remainder of his/her

natural life; (2) IVIG is expensive for the purchaser and lucrative

for Defendants; and (3) Defendants devised an internal practice

which enabled them to secretly under report and under pay bonus

commissions on IVIG sales to bolster corporate profits [Dkt. No.

9 at 6].   Plaintiff asserts that Defendants charged high rates for

the IVIG product and increased the price for additional purchases

[Id.].     Plaintiff   alleges    that   Defendants    made   payments    to



convicted of certain felony offenses related to his opiate
prescribing practices.   Brizuela, 2020 WL 339440, at *6.     The
Fourth Circuit reversed the conviction based on the trial court’s
admission of challenged testimony and remanded the case for a new
trial. Brizuela, 2020 WL 3393440, at*25-26. On remand, Brizuela
pled guilty to Count 2 of the Indictment, distribution of
controlled substances outside the bounds of professional medical
practice in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)
[N.D. W.Va. Criminal Action No: 1:18-cr-1-1, Dkt. No. 494].
Brizuela was sentenced on October 1, 2020, and the government
dismissed the remaining charges in the Indictment [Id., Dkt. No.
495].
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Brizuela from April 3, 2012 to March 19, 2015 that were unlawful,

wrongful, violated Defendants’ written policies, violated ethical

standards,    and   placed   the    health,   safety,   and   wellbeing   of

Plaintiff and putative class members at risk [Id. at 7]. Plaintiff

claims that Brizuela performed no services for Defendants to earn

the payments made to him other than increasing the number of new-

book IVIG transactions [Id.].         According to Plaintiff, Brizuela

became one of the highest volume IVIG prescribing practitioners in

the United States as measured by data from the Centers for Medicare

and Medicaid Services (“CMS”) [Id.].

     Plaintiff alleges that neither she, nor the putative class

members, had CIPD, the medical condition diagnosed to trigger the

sale of IVIG [Dkt. No. 9 at 7]. She claims Defendants knew Brizuela

was making CIDP diagnoses to trigger the sale of IVIG at an

incident rate exponentially higher than any rate published in peer

review   studies,   higher   than    any   other   prescribers,   and   that

Brizuela’s documentation in the possession of Defendants did not

support new-book IVIG transactions [Id.].               Plaintiff believes

Defendants knew the health, safety, and wellbeing of Plaintiff and

punitive class members were at risk based on Defendants’ improper

payments to obtain new-book IVIG transactions through Brizuela

[Id. at 8].

     According to the Amended Complaint, IVIG therapy is infused

slowly and requires surgical PICC line placement and placement for

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infusion or IV administration for each infusion [Dkt. No. 9 at 8].

The methods of infusion are associated with risk of infection,

injury, disease, and death, and result in multiple potential side

effects [Id.].    Plaintiff also claims that IVIG is associated with

acute renal failure, thromboembolic events, aseptic meningitis,

neutropenia, and skin reactions, among other risks [Id.].

      Plaintiff’s claims are brought individually and on behalf of

the putative class members she seeks to represent [Dkt. No. 9 at

9].   As summarized, the proposed class is defined as follows:

      All persons who were prescribed immunoglobulin (IVIG) by
      Felix Brizuela, D.O. between April 3, 2012 and March 19,
      2015 and were directed to Defendants AmerisourceBergen
      Corporation, US Bioservices Corporation, Ig.G. of
      America, Inc., and IHS Acquisition XXX, Inc. for
      purchase of IVIG.

[Id. at 9].

                            II.   Legal Standard

      Defendants bring the motion to strike pursuant to Federal

Rules of Civil Procedure 23(a)(2), 23(b)(3), and 23(d)(1)(D) and

argue that Plaintiff’s class claims should be stricken because

Plaintiff fails to plead a certifiable class [Dkt. No. 26-1].

Plaintiff responds that the motion to strike is premature and that

the Court should defer consideration of Rule 23 until the parties

conduct discovery [Dkt. No. 28].

      Relevant authority identifies the standards used to evaluate

motions to strike a complaint’s class claims.            See Williams v.


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Potomac Family Dining Group Operating Company, LLC, Case No. GJH-

19-1780, 2019 WL 5309628, at *4 (D. Md. Oct. 21, 2019).                       Rule

23(d)(1)(D) provides courts with the authority to mandate the

amendments of the pleadings.            Fed. R. Civ. P. 23(d)(1)(D).        “Rule

23(d)(1)(D)      can   be   used   to   remove    class      allegations   from   a

complaint after the class certification issue has been properly

presented and determined by a court.”              Johnson v. Flakeboard Am.

Ltd., No. CA 4:11-2607-TLW-KDW, 2012 WL 2237004, at *5 (D.S.C.

Mar. 26, 2012), report and recommendation adopted, No. CIV.A. 4:11-

2607-TLW, 2012 WL 2260917 (D.S.C. June 15, 2012).                     The Supreme

Court has instructed that “[s]ometimes the issues are plain enough

from the pleadings to determine whether the interests of the absent

parties    are   fairly     encompassed       within   the    named   plaintiff’s

claims.”    Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 160

(1982).    This is reflected in Rule 23(d)(1)(D), which provides

that in conducting an action under Rule 23, a court may issue

orders that “require that the pleadings be amended to eliminate

allegations about representation of absent persons and that the

action proceed accordingly.”

     Several      circuits    have      determined     that    Rule   23   permits

defendants to file preemptive motions to deny certification before

discovery is completed.        Williams, 2019 WL 5309628, at *4 (citing

Richardson v. Bledsoe, 829 F.3d 273, 288-89 (3d Cir. 2016); Manning

v. Boston Med. Ctr. Corp., 725 F.3d 34, 59 (1st Cir. 2013); Pilgrim

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v. Universal Health Card, LLC, 660 F.3d 943, 949 (6th Cir. 2011);

Kasalo v. Harris & Harris, Ltd., 656 F.3d 557, 563 (7th Cir. 2011);

Vinole v. Countrywide Home Loans, Inc., 571 F.3d 935, 939-41 (9th

Cir. 2009).     The Fourth Circuit made the same finding in an

unpublished table decision.      See Strange v. Norfolk & W. Ry., No.

85-1929, 1987 WL 36160, at *3 (4 Cir. Jan. 12, 1987) (unpublished

table decision).    See also Stanley v. Central Garden & pet Corp.,

891 F. Supp. 2d 757, 769 (D. Md. 2012); Ross-Randolph v. Allstate

Ins. Co., No. DKC 99-2244, 2001 WL 36042162, at *4 (D. Md. May 11,

2011).

     Courts have also found that granting such a preemptive motion

should occur before the completion of discovery only when it is

apparent from the face of the complaint that “the requirements for

maintaining a class action cannot be met.”        Landsman v. Funk PC v.

Skinder-Strauss Assocs., 640 F.3d 72, 93 n.30 (3d Cir. 2011); Mills

v. Foremost Ins. Co., 511 F.3d 1300, 1309 (11th Cir. 2008); John

v. Nat. Sec. Fire & Cas. Co., 501 F.3d 443, 445 (5th Cir. 2007).

The guidelines for making this assessment are drawn from the

familiar standard of review for motions to dismiss under Rule

12(b)(6).    Williams, 2019 WL 5309628, at *5 (citing Blihovde v.

St. Croix Cty., 219 F.R.D. 607, 613-14 (W.D. Wis. 2003)).             While

plaintiff retains the ultimate burden of demonstrating that the

requirements for certification are met in a class action, when a

defendant files a pre-discovery challenge to class certification

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“on the basis of the allegations in the complaint only,” the

standard of review “is the same as a motion to dismiss for failure

to state a claim.”     Id. (quoting Blihovde, 219 F.R.D. at 614).

     A motion to dismiss a complaint’s class allegations should be

granted when it is clear from the face of the complaint that the

plaintiff cannot and could not meet Rule 23’s requirements for

certification because the plaintiff has “fail[ed] to properly

allege facts sufficient to make out a class” or “could establish

no facts to make out a class.”       Bessette v. Avco Fin. Servs., 279

B.R. 442, 450 (D.R.I. 2002).       Applying this relatively low bar to

proceed to discovery is consistent with the principle that “a

ruling on class certification should normally be based on ‘more

information than the complaint itself affords.’”           Williams, 2019

WL 5309628, at *5 (quoting Bryant v. Food Lion, Inc., 774 F.Supp.

1484 (D.S.C. 1991) (quoting Doctor v. Seaboard Coast Lines R.R.

Co., 540 F.2d 699, 707 (4th Cir. 1976)).

     To state a claim that survives a Rule 12(b)(6) motion, “a

complaint must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)).        In ruling on a motion

to dismiss, a court “must accept as true all of the factual

allegations contained in the complaint.”           Anderson v. Sara Lee

Corp., 508 F.3d 181, 188 (4th Cir. 2007) (quoting Erickson v.

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Pardus, 551 U.S. 89, 94 (2007)).         A court is “not bound to accept

as true a legal conclusion couched as a factual allegation.”

Papasan v. Allain, 478 U.S. 265, 286 (1986).

     A motion to dismiss under Rule 12(b)(6) tests the “legal

sufficiency of a complaint.”      Francis v. Giacomelli, 588 F.3d 186,

192 (4th Cir. 2009).       A court should dismiss a complaint if it

does not contain “enough facts to state a claim to relief that is

plausible on its face.”      Twombly, 550 U.S. at 570.        Plausibility

exists “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.”      Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).   The factual allegations “must be enough to raise a right

to relief above a speculative level.”         Twombly, 550 U.S. at 545.

The facts must constitute more than “a formulaic recitation of the

elements of a cause of action.” Id. at 555.          A motion to dismiss

“does not resolve contests surrounding the facts, the merits of a

claim, or the applicability of defenses.”            Republican Party of

N.C. v. Martin, 980 F.2d 942, 952 (4th Cir. 1992).

                             III. Discussion

     Plaintiff alleges a class action under Federal Rule of

 Civil Procedure Rule 23(b)(3) which states in relevant part

 that a class action may be maintained if:

     (3) the court finds that the questions of law or fact
     common to class members predominate over any questions
     affecting only individual members, and that a class

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         action is superior to other available methods for fairly
         and efficiently adjudicating the controversy. The
         matters pertinent to these findings include:
         (A) the class         members’ interests in          individually
         controlling the       prosecution or defense         of separate
         actions;
         (B) the extent and nature of any litigation concerning
         the controversy already begun by or against class
         members;
         (C) the desirability or undesirability of concentrating
         the litigation of the claims in the particular forum;
         and
         (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).            Plaintiff claims that class treatment

is appropriate because the proposed class includes a significant

number of patients who are located in West Virginia, Pennsylvania,

and potentially Ohio; there are common questions of law and fact

among the members of the class that predominate over any individual

questions; the Plaintiff’s claims are typical of all putative class

members; the Plaintiff will fairly and adequately protect the

interests       of    putative   class   members;   and   a   class   action   is

appropriate to fairly and efficiently adjudicate the controversy

[Dkt. No. 9 at 10-11].

         Defendants note that Plaintiff’s proposed class contains all

individuals prescribed IVIG therapy by Felix Brizuela, D.O. during

the period between April 3, 2012 and March 19, 2015 [Dkt. No. 26-

1   at    2].        The   Amended   Complaint   identifies    sixty-five    (65)

individuals in the proposed class [Dkt. No. 9 at 7], and alleges



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that all of the putative class members “did not have CIPD, the

medical condition diagnosed to trigger the sale of IVIG” [Id.].

Plaintiff also alleges that “class members would not have purchased

IVIG from Defendants” had Defendants’ payments to Brizuela been

known at the time [Id. at 16].         In arguing that the allegations

are inappropriate for class treatment, Defendants state there are

too many individual determinations to be made among the proposed

class in order to potentially establish liability on the claims

alleged by Plaintiff [Dkt. NO. 26-1 at 2].

      Plaintiff counters that the pre-discovery motion to strike is

premature    and   disfavored    because   additional    facts    developed

through discovery can change the certification analysis [Dkt. No.

28 at 5].      Plaintiff cites the Fourth Circuit’s decision in

Krakauer v. Dish Network, LLC, 925 F.3d 643, 654 (4th Cir. 2019)

for the proposition that modifications to the class and class

definitions are expected throughout class discovery and each stage

of the proceedings before a district court.         The court in Krakauer

noted with approval that “[w]hen new evidence became available,

the court modified the class appropriately.”          Id. at 652.    “Since

the requirements of Rule 23 are often ‘enmeshed in the factual and

legal issues comprising the plaintiffs’ cause of action, the

district court must rigorously examine the core issues of the case

at the certification stage.’”       Id. at 654 (citing Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 351, 131 S.Ct. 2541, 180 L.Ed.2d 374

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(2011) (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160,

102 S.Ct. 2364, 72 L.Ed.2d 740 (1982)).                    The Court agrees with

Plaintiff.

      This    Court   has   recognized       that    pre-discovery    motions    to

strike    class    claims    are    consistently        denied    “because    class

allegations should not be addressed at the pleading stage, before

plaintiff has had full opportunity to discovery and to revise the

class definition as necessary.”          Alig v. Quicken Loans, Inc., Civ.

A. 5:12-114, 2015 WL 13636655, at *2 (Oct. 15, 2015) (citing

Manning v. Boston Med. Ctr. Corp., 725 F.3d 34, 59-60 (1st Cir.

2013) (vacating district court order striking class and collection

action allegations from complaint, explaining that “`striking a

pleading is a drastic remedy and … it is often sought by the movant

simply as a dilatory or harassing tactic’”).                   See Doe v. City of

Memphis,     928   F.3d   481,   497   (6th    Cir.    2019)     (reversing   order

striking class allegations where no “protoypical factual issue”

prevented      certification     and   court        concluded    discovery    might

support      certification);       Herrera    v.     JFK   Medical   Center    Ltd.

Partnership, 2016 WL 1637826, at *6 (11th Cir. 2016) (reversing

decision to strike class allegations in action challenging alleged

unreasonable fees for emergency radiological services, concluding

that “district court should have allowed limited discovery instead

of striking the class allegations based solely on the face of the

complaint”); Smith v. Wash. Post. Co., 962 F.Supp.2d 79, 89-90

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(D.D.C. 2013) (“[A] motion to strike is a disfavored, drastic

remedy[.] Courts rarely grant motions to dismiss or strike class

allegations     before     there    is     a   chance        for     discovery.);

Ironforge.com v. Paychex, Inc., 747 F.Supp.2d 384, 404 (W.D. N.Y.

2010) (motions to strike class allegations are “disfavored” by

courts because they “require[e] a reviewing court to preemptively

terminate the class aspects of litigation, solely on the basis of

what   is   alleged   in   the   complaint,    and   before        plaintiffs   are

permitted to complete the discovery to which they would otherwise

be   entitled   on    questions    relevant    to    class    certification”);

Ehrhart v. Synthes (USA), 2007 WL 4591276, at *5 (D.N.J. Dec. 28,

2007) (“Decisions from our sister courts (and courts in a number

of other jurisdictions) have made clear that dismissal of class

allegations at [the motion to dismiss] stage should be done rarely

and that the better course is to deny such a motion because the

‘shape and form of a class action evolves only through the process

of discovery’”) (citations omitted).

       Having considered the parties’ arguments and having already

ruled that Plaintiff’s Amended Complaint states plausible claims

for recovery, the Court finds that the motion to strike class

allegations is premature.         Here, the issues are not plain enough

from the pleadings to determine whether class certification is

proper.     The Amended Complaint alleges facts sufficient to claim

a class action and it would be imprudent to decide the issue at

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this stage in the proceedings.            Defendants have not shown that

taking the allegations in the Amended Complaint as true, the class

as proposed could not satisfy the requirements of Rule 23. Because

discovery has not yet occurred in this matter, there is no evidence

upon which to evaluate whether Plaintiff and putative class members

have   a   common   method   of   proof   or   whether   an   individualized

assessment of each class member is necessary.             Accordingly, the

Court denies the motion to strike class allegations.

                             IV.    Conclusion

       For the reasons stated herein, the Defendants’ Motion to

Strike Class Allegations [Dkt. No. 26] is DENIED.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

counsel of record.

       DATED: October 30, 2020


                                           /s/ Thomas S. Kleeh
                                           THOMAS S. KLEEH
                                           UNITED STATES DISTRICT JUDGE




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